123 F.3d 213
    UNITED STATES of America, Plaintiff-Appellee,v.Alfred L. BROWN, aka Goat, Defendant-Appellant.
    No. 95-31000.
    United States Court of Appeals,Fifth Circuit.
    Sept. 9, 1997.
    
      Josette Louise Cassiere, Assistant U.S. Attorney, William Joseph Flanagan, James G. Cowles, Jr., Asst. U.S. Atty., Shreveport, LA, for Plaintiff-Appellee.
      Daryl F. Gold, Shreveport, LA, for Defendant-Appellant.
      Appeal from the United States District Court for the Western District of Louisiana;  Donald E. Walter, Judge.
      (ON PETITION FOR REHEARING AND SUGGESTION FOR REHEARING EN BANC)
      (Opinion June 26, 1997, 5 Cir., 1997, 116 F.3d 1066)
      Before POLITZ, Chief Judge, and KING, JOLLY, HIGGINBOTHAM, DAVIS, JONES, SMITH, DUHE, WIENER, BARKSDALE, EMILIO M. GARZA, DeMOSS, BENAVIDES, STEWART, PARKER and DENNIS, Circuit Judges.
    
    BY THE COURT:
    
      1
      A member of the court in active service having requested a poll on the suggestion for rehearing en banc and a majority of the judges in active service having voted in favor of granting a rehearing en banc,
    
    
      2
      IT IS ORDERED that this cause shall be reheard by the court en banc with argument on a date hereafter to be fixed.  The Clerk will specify a briefing schedule for the filing of supplemental briefs.
    
    